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UNITED STATES DISTRICT COURT CG 1921
EASTERN DISTRICT GF NEW YORK

 

JEFFREY JOSEPH, PIO Se, AFFIDAVIT IN
OPPOSITION TO
PETITION FOR A WRIT
P@titioner, OF HABEAS CORPUS

 

-aqainet~ 18WCVM18?7(KAM)

HAROLD D. GRAHAM, Superintendent of
Auburn Correctional anility,

Reepondent.

 

 

STATE OF NEW YORK )
) SS:
COUNTY OF KINGS )

CAMILLE O’HARA GILLESPIE, being duly Sworn, depoeee and
etaree as follower

l. § am an Assistant Dietrict Attorney of Couneel to Eric
Gonzalez, the District Attorney of Kinge County. § am admirted
to practice in New York State and before this Court.

2. By agreement with the Attorney Generai of the Srare of
New York, the District Attorney of Kings County represents
respondent in the above-captioned matter.

3. l eubmit this affidavit in opposition to the
application, dated March 16, 2018, of petitioner Jeffrey JoSeph
(hereinafter referred to as “defendant”) for a writ of Q§Qe§§
corgue. Unleee otherwiee indicated, the following etatementa are
made on information and belief, based on the records and files of
the Kinge County Dietriot Attorney'e Office.

é. On July 20, 2006, at about 7:30 p.m., at the corner

Eaet 95th Street and Clarkeon Avenue in BrooklynF defendant ehot

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illis Bryan in the chest with a handgnn, inflicting a wound from
which Bryan bled to death.

5. Por these acts, defendant was charged4 under Kings
County Indictment Number 26?/2008, with Mnrder in the Second
Degree {P,L. § lZB.ZB[i]), Manslaughter in the First Degree (P.L.
§ 125.20[13), Criminal Possession of a' Weapon in the Second
Degree {P.L, former § 265.03[1][b]), and Criminal Possession of a
Weapon in the Third Degree (P.L. former § 265.02[4]).

6. On May 3 and 4, 2010, in New York Snpreme Court, Kings
Connty, the court (anman, J.) conducted a pretrial hearing to
determine the admissibility of defendant's statements and
identification testimony relating to defendant. Detectives
Michael Braithwaite, Peter McMahon, Michael Maftei, and Emil
Tkhorovskiy, and Undercover Police Officer COU?D testified at the
hearing. The defense presented run witnesses. Following the
hearingr on May 4, 2010, the hearing court issued a decision from
the bench, denying the motion to suppress identification
testimony and defendant's statements (HZ. 66~71, 74-82).l With
respect to the identification issue, the court noted that the
three photographic arrays viewed by doshna Byrd, Sean Rose, and
Kyie Leslie involved the same photograpbs, that the photographs
were all of young black men with close~cropped hair, and that

there was nothing in the photographs that would make any one

 

l Unless otherwise indicated, numbers in parentheses refer

to pages of the trial transcript; numbers preceded by “HZ” refer
to pages of the hearing transcript dated May 4, 2010; numbers
preceded by “S” refer to pages of the sentencing transcript,
dated Augnst 19, 2010; names preceding page numbers identify the
witnesses whose testimony is cited.

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stand out (HZ. 74, 78}. Regarding the lineup, the hearing court
noted that all six participants were wearing blue smocks and hats
and were seated, eliminating any disparity in height (HZ. ?2).
Although the lineup participants were wearing different kinds of
footwear, there was nothing that stood out about the shoes they
wore (HZ. 7§). With respect to defendant's statements, the court
noted that defendant’s statements to the undercover police
officer were not coerced or the result of threats and were
voluntary {HZ. 70).

7. On June l7, 2010, jury selection began at defendant's
trial in New York Supreme Court, Kings County. At trial, the
State presented the testimony of Joshua Byrd, Kyle Leslie, Wilber
Calliste, Sharon Bryan, Police Officer Renee Diazr Detectives
Michael Braithwaite, Kevin Gasser, dames Valenti, and Emil
Tkhorovskiy, Sergeant Michael Sinatra, Undercover Police Officer
COOTO, and Doctor Melissa Pasguale-Styles. Defendant presented no
witnesses. Following the trial, the jury returned a verdict
acquitting defendant of second-degree murder and second-degree
criminal possession of a weapon and convicting defendant of first-
degree manslaughter (N.Y. Penal Law § 125.20[11).

8. On hugust 19, 2010, the court sentenced defendant to a
prison term of twenty years for the manslaughter conviction, to
be followed by five years of post-release supervision (S. 24).
(Guzman, J., at trial and sentence).

9. On or about February l, 2016, defendant perfected his
appeal by filing in New York Supreme Court, Appellate Division,

Second Judicial Bepartment (hereinafter “Appellate Division”), a

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brief prepared by his appellate counsel, Amy Donner, Esg., of the
Legal Aid Society. ln that brief, defendant raised the following

claims:

(l) defendant was denied due process by the
hearing court's refusal to find the photo
array unduly suggestive and order an
independent source hearing regarding the
lineup and in-court indentifications, where a
prominent feature of one witness’s
description. of the shooter was that he had
cornrows and the photos of the fillers showed
closelymcropped, neat hairlines, whereas
defendant's was the only one featuring
cornrows and an uneven hairline with
frizziness and exposed scalp;

{2) the court's refusal to charge second-degree
manslaughter deprived defendant of due
process and a jury trial, where there was a
reasonable view of the evidence in the light
most favorable to the defense that the
deceased me who was seven inches taller than
defendant, angry and probably intoxicated --
had thrown a punch at defendant's face,r
missed him and stumbled, whereupon defendant,
while ducking, took out a gun for the first
time and fired a single fatal gunshot; and

(3) defendant was denied his due process right to
a fair trial by the prosecutor’s persistent
flouting of the court’s rulings precluding
testimony that defendant allegedly was
affiliated with the Crips gang and improper
insinuation to the jury that courtroom
spectators were Crips who were trying to
intimidate prosecution witnesses, thereby
wrongly attempting to show guilt by
association.

lO. On May 23, 2016, the People filed a responding brief in
the Appellate Divisionr answering the claims in defendant's
brief.

ll. On or about dune 16, 2016, defendant’s appellate
counsel, Amy Donner, Esq., filed a reply brief on defendant’s

behalf.

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12. Defendant also filed a pro §§ supplemental brief in the

hppellate Division, raising the following claims:

(l) the court denied defendant’s right to a fair
trial by failing to respond meaningfully
under C.P.L. § 3lG.30 to an ambiguous note
from the jury and by having only direct
examination testimony favorable to the
prosecution read back to the jury and not
crosseexamination testimony favorable to the
defense; and

(2) defendant was denied the effective assistance

' of counsel when defense counsel failed to
request a Sirois hearing' when the People’s
witness changed his testimony and the People
attributed this change in testimony to
defendant’s misconduct.

13. By decision and order dated December 21, 2016, the
Appellate Division unanimously affirmed defendant's judgment of

conviction. Peopie v. Joseph, 145 A.D.3d 916, §§ N.Y.S.Bd 115

 

(2d Dep't 2016).

14. By letters dated January 17, 2017, and February 21,
2917, defendant sought leave to appeal to the New York Court of
Appeals from the order of the Appellate Division affirming
defendant's judgment of conviction. By ietter‘ dated inarch 2,
2017, the People opposed defendant’s leave application. On March
27, 2017, defendant's application for leave to appeal to the New
York Court of Appeals was denied. Peopie v. doseph, 29 N.Y.Bd
9§9, 54 N.Y.S.3d 380 (201?) (Stein, J.).

15. By petition dated March l6, 2018, filed in this Court,
defendant now seeks a writ of habeas corpus, raising the same five
claims raised in his main Appeilate Division brief and his pig se

supplemental brief.

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16. In accordance with this Court's order to show cause,
dated April 25, 2018, copies of,the following documents are being
filed electronically, and a courtesy hard copy of the same
documents is being provided to the Court: (l) defendant’s main
Appellate Division brief (Respondent’s Exnibit A); (2} the State's
responding Appellate Division brief (Respondent’s Exhibit B); (3)
defendant's reply brief to the Appellate Division (Respondent's
EXhibit C); (4) defendant's p§o §§ supplemental Appellate Division
brief {Respondent's Exhibit D); {5) the State’s responding
supplemental Appellate Division. brief {Respondent’s Exhibit E};
(6) defendant's letters, dated January 17, 2017, and February 21,
2017, seeking leave to appeal to the New York Court of Bppeals;
the letter of the Clerk of the New York Court of Appeals, dated
January 25, 2017, giving notice of the assignment of the leave
application to dodge Stein; the State’s letter, dated March 2,
2917, opposing defendant’s leave application; and the certificate
of dodge Stein, dated Marcn 27, 2017, denying leave to appeal
{Respondent’s Exhibit F); (7) the transcripts of defendant’s
suppression hearing (pp. 1~85}, jury selection proceedings (pp. l-
5? and lMZQl), trial (pp. 1~669), pre~sentence proceedings, dated
Nay 6, 2011 (Pp. 1*6), and sentence {pp. 1“25} (Respondent’s
Exhibit G); and (8) copies of the photo array shown to Kyle Leslie
and Joshua Byrd, and the photographs of the lineup viewed by Byrd

(Respondent’s Exhibit H).

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WHEREFORE, and for the reasons set forth in the accompanying
memorandunl of law, defendant’s petition for a writ of habeas

corpus should be denied.

Dated: Brooklyn, New York
June 25, 2818

(§§H,,U;£, @U®e Gellz.é\{\,§§§
Camille G’Hara Gillespie

Assistant District Attorney
(718) 250-2490

Sworn to before me this
Z§W% day o§ Jnne 2018

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UNITED STATES DISTRICT COSRT CG 1921
EASTERN DISTRICT OF NEW YORK

 

JEFFREY JOSEPH, PrO Se,

Petitioner,

Hagainst-
18~CV~1877(KAM)
HAROLD D. GRAHAM, Superintendent of
Aubnrn Correctional ?acility,

Respondent.

 

 

RESPONDENT’S MEMORANDUM OF LAW

 

LEONARD JOBLOVE

CAMILLE O’HARA GILLESPIE

Assistant District Attorneys
Of Counsel

June 25, 2018

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POINT l

DEFENDANT'S CLAIM CONCERNZNG THE
IDENTIFICATION PROCEDURES DOES NOT WARRANT
HABEAS RELIEF.

 

Defendant claims in ground one of his habeas petition that
the state hearing court erred in not suppressing the
identification testimony of Joshua Byrd, who both identified
defendant irma a photographic array and at a lineup, and Kyle
Lesiie, who identified defendant in a photographic array. This
exhausted claim, raised in Point l of defendant's Appellate
Division brief (Respondent’s Exhibit A) and in his February 21,
2017 leave letter to the New York Court of Appeals (included in
Respondent's Exhibit F) at 16»17, does not warrant habeas relief.

The deferential standard of review established by the
entiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”)
and set forth in 28 U.S.C. § 2254(d) “erects a formidable barrier
to federal habeas relief for prisoners whose claims have been
adjudicated in state court.” Burt v. Tdtlow, 571 U.S. 12, 19
(2013). Where a state court has adjudicated a federal
constitutional claim on the merits, a state prisoner is entitled
to a writ of habeas corpus only if the state court’s adjudication
of the claim “resulted in a decision that was contrary to, or
involved an unreasonable application of, clearly established
Federai law, as determined by the Supreme Court of the United
States,” or if the state court's adjudication of the claim
“resulted in a decision that was based on an unreasonable

determination of the facts in light of the evidence presented in

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the State court proceeding.” 28 U.S.C. § 225§(d); see Williams
v. Taylor, 529 U.S. 362, 412-13 (2000). In addition, under 28
U.S.C. § 2254(e}(l), “a determination of a factual issue made by
a State court shall be presumed to be correct,” and the state
prisoner “shall have the burden of rebutting the presumption of
correctness by clear and convincing evidence.”

“[C]learly established Federal law, as determined by the
Supreme Court of the United States,” refers to “the holdings, as
opposed to the dicta, of {the Supremel Court's decisions as of
the time of the relevant state-court decision.” Williams in

Taylor, 529 U.S. at 412; see Carey v. Musladin, 549 U.S. ?0, la

 

{2006). Where there is no clear Supreme Court precedent on an
issue, it cannot be said that the state court's decision was
contrary to, or involved an unreasonable application of, clearly

established federal law. Knowles v. Mirzayance, 556 U.S. lll,

 

122 (2009); Wright. v. ~Van Patten, 552 U.S. 120, 126 (2008);

 

Musladin, 539 G.S. at 76.

§`urthermorer where the Supreme Court has announced only a
general rule or test, the state courts have greater leeway in the
application of that rule than would be the case were the rule
more specific. §_e_ev Mirzayance, 556 U.S. at 123. “The inore
general the rule, the more leeway courts have in reaching
outcomes in case~by-case determinations.” Yarborough v.
Alvarado, 541 U.S. 652, 66§ {2004).

Federal courts are “not free to presume that a state court
did not comply with constitutional dictates on, the basis of

nothing more than a lack of citation.” Bell v. Cone, 543 U.S.

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44?, 455 (2005). Even, “{wjhere a state court's decision is
unaccompanied by an explanation, the habeas petitioner's burden
still must be met by showing that there was no reasonable basis

for the state court to deny relie§." Harrington v. Richter, 562

 

U.S. 86, 98 (20ll); see also Johnson v. Williams, 568 U.S. 289,

 

292~93 (2013} (where state court addressed some claims raised by
defendant but not claim later raised in federal habeas
proceedings, federal claim is presumed to have been adjudicated
on merits in state court).

ln order to establish that a state court decision involves an
unreasonable application of Supreme Court precedent, “a state
prisoner must show that the state court’s ruling on the claim
being presented in federal court was so lacking in justification
that there was an error well understood and comprehended in
existing law beyond any possibility for fairminded disagreement.”
Richter, 562 U.S. at 103. “‘lf this standard is difficult to
meet' ~» and it is -~ ‘that is because it was meant to be.’”
Titlow, 5?l U.S. at 20 (guoting Richter, 562 U.S. at 102).

In this case, the Appeilate Division rejected on the merits
defendant's contentions concerning the photographic
identifications of defendant by Joshua Byrd and Kyle Leslie.
People v. Joseph, 145 A.D.3d 916, 91?, §§ N¢Y.S.3d ll5, ll6 (2d
Dep’t 2616). The Appellate Division also rejected on the merits
defendant’s contentions concerning the lineup. ld;, 145 A.D.Bd
at 91?, 44 N,Y.S.3d at 116.

For the reasons set forth in detail in the State’s main

Appellate Division brief (Respondent's Exhibit B) at 2?*42, and

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the reasons set forth in the Appellate bivision’s decision,
Joseph, 145 A.D.3d at 917, 44 N.Y.S.Bd at 116~17, defendant's
claim. concerning the identification procedures was meritless.
More importantly, defendant fails to show that under 28 U.S.C.
§ 2254(d)r the Appellate Division’s rejection of defendant's
claim that the identification procedures were unduly suggestive
was contrary to, or involved an unreasonable application of,
Supreme Court precedent.

With respect to the photo array shown to the witnesses, the
Appellate Diyision observed that “the photos in the photo array
depicted people who were sufficiently similar to the defendant in
appearance so that there was little likelihood that the defendant
would be singled out for identification based on particular
characteristics,” Joseph, 145 A.D.Ed at 917, 44 N,Y.S.Bd at ll6.
With respect to the lineup, the hppellate Division noted that
there is “no requirement that a defendant in a lineup be
surrounded by individuals nearly identical in appearance” and
that the “alleged variations in appearance between the defendant
and fillers in the lineup were not so substantial as to render
the procedure impermissibly suggestive.” ld@

As the photo arrays and lineup photographs, included in
Respondent’s Exhibit H, attest, the Appellate Division's

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rejection of defendant’s clain: was not so lacking in
justification that there was an error weil understood and
comprehended in existing law beyond any possibility for

lfairminded disagreement.” Richter, 562 U.S. at l03. The

Appellate Division's determination regarding the pretrial

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identifications was reasonable, as there was no unnecessary
suggestiveness in the photo array or lineup procedures the police

used here. See Perry¢v. New Hampshire, 565 U.S. 228, 233~39

 

(20l2) (“due process concerns arise only when law enforcement
officers use an identification procedure that is both suggestive

and unnecessary”); see also Neil v. Biggers, 409 U.S. 188, 199-

 

ZGO {1972} (unnecessarily suggestive police showup did not
require suppression where witness's identification was reliable);

Simmons v. United States, 390 U.S. 37?, 384 (1968} (suppression

 

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of pretrial identification required only if procedure was so
impermissibly suggestive as to give rise to a very substantial
likelihood of irreparable misidentification”}“ Thus, habeas

relief is not warranted on the basis of the stats court's

suppression ruling. See, e.g., Brisco v. Ercole, 565 F.3d BG,

 

90-9l (2d Cir.) (state court’s conclusion that showup at scene of
burglary was not unduly suggestive did not involve unreasonable
_application of Supreme Court precedent), cert. denied, 558 U.S.
1063 (2009).

Indeed, there was testimony at the hearing indicating the
both¢ Byrd, and. Leslie were familiar‘ with defendant before the
incident and knew defendant's first name (Maffei: HZ. 6»?, 26~
27). ln light of this familiarity, it was not likely that the
identification of either Byrd or Leslie would have been
influenced by any suggestiveness in the photo array, and it was
not likely that Byrd's identification would have been influenced

by any suggestiveness in the lineup. Thus, there was no very

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substantial likelihood of ndsidentification in this case. See

Manson v. Brathwaite, 432 U.S. 98, ll4~16 41977}.

 

Finally, even assuming, arguendo, that there was error in
admitting the identification testimony of Byrd or Leslie, it did
not have a substantial and injurious effect on the trial. See

Fry v. Pliler, 55l U.S. llZ, 121*22 {200?); Brecht v. Abrahamson,

 

597 U.S. 619, 637”39 {1993) (constitutional trial error does not
warrant habeas relief unless error had substantial and injurious

effect or influence on verdict); see, e,g., McKinnon v.

 

Superintendent, Great Meadow Corr. Facility, €22 Fed. Appx. 69,

 

74-75 (Zd Cir. ZUll} {petitioner failed to demonstrate that
challenged identification procedures, including showup
identification, had substantial and injurious effect on verdict),
cert. denied, 565 U.S. 1181 (2012).

Under New York law, the photo array identifications that
Leslie and Byrd made were not admissible on the State's direct

case. See People v. Caserta, 19 N.Y.Zd 18, 21, 277 N.Y.S.Zd 6§7,

 

648-49 (1966). end at trial, Leslie ultimately denied having
seen defendant at the scene of the shooting {Leslie: 288~89,
293). Even if Byrd’s identification of defendant at the lineup
had been suppressed, Byrd would have been able to give testimony
about the events he observed and his description of the shooter,
whom he knew, and Wilber Calliste identified defendant at trial
and placed him at the scene of the shooting {Calliste: 329“21,
334-38). ln addition, defendant made statements, introduced at
trial, in, which he admitted having shot the victin1 after the

victim swung at him (U.C.: eeé-@S). Thus, any error in not

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suppressing identification testimony based on the photo array
that Byrd and Leslie viewed or the lineup that Byrd viewed was

harmless and does not warrant federal habeas relief.

POINT ll

DEFENDANT'S CLAIM CONCERNING THE COURT’S
REFUSAL TO CHARGE SECOND-DEGREE MANSLAUGHTER
AS A LESSER INCLUDED OFFENSE DOES NOT WARRANT
HABEAS RELIEF.

 

 

 

Defendant's claim in ground two of his petition that the
state court erroneously refused to charge the jury on
Manslaughter in the Second Degree (N.Y. Penal Law § 125.15) as an
alternative lesser included offense was presented in state court
in Point ll of his main Appellate Division brief (Respondent’s
Exhibit A) and in his February 21, 2917 leave letter to the New
York Court of hppeals (included in Respondent’s Exhibit F) at 13~
16, but this claim does not warrant habeas relief. The Appellate
Division rejected. defendant’s clain1 on the merits, explaining
that the lesser included offense of second~degree manslaughter
was properly refused because “{t]here was no reasonable view of
the evidence, looked at in the light most favorable to the
defendant, that would support a finding that he acted recklessly,
rather than intentionally, in causing the victim’s death.”
People v. dosegh, 145 A.D.3d 916, 91?, 44 N.Y.S.Bd ll§, 116 (2d

Dep’t 2016); see People v. Rivera, 23 N.Y.Bd 112, l20w24, 989

 

N.Y.S.Bd §46, 451-55 {2014).
There is no Supreme Court precedent deciding that submission
of such a charge is required as a matter of federal

constitutional law in a non-capital case, see Beck v. Alabama,

 

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44? U.S. 625, 638 n.l4 {l93©), and the Appellate Division’s
rejection of defendant’s claim, concerning the lesser included
offense is not contrary to, and does not involve an unreasonable
application of, Supreme Court precedent. §e§ 28 U.S.C.

§ 2254(d); Jones v. Hoffman, 86 F.3d. 46, 48 (Zd Cir. l996);

 

Bonilla v. Lee, 35 F. Supp. 3d 551, 569 (S.D.N.Y. 2914).

Furthermore, for the reasons set forth in detail in the
State’s main Appellate Division brief (Respondent's Exhibit B) at
43-60, there was no reasonable view of the evidence to support a
charge of second-degree manslaughter as a lesser included offense
of second-degree murdern ln light of the evidence that the
victim sustained, at close range, a single gunshot wound to the
lower left chest that penetrated the abdomen, an area of the body
containing vital organs and vessels (Pasguale»$tyles: 206-07),
and in light of the lack of evidence that defendant was waving
the gun around or was otherwise acting recklessly rather than
intentionally at the time he fired at the unarmed victim, the
Appellate Division correctly determined that there was no
reasonable view of the evidence to support submission of second-
degree reckless manslaughter. A “reasonable view of the
evidence” does not mean that the court is required to give the
reckless manslaughter charge as a lesser included offense of
second“degree murder if the record does not completely exclude
the possibility that the defendant acted recklessly. Rivera, 23
N.Y.Bd at 121, 989 N.Y.S.Zd at 452.

in sum, this claim does not warrant federal habeas relief.

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POINT III

DEFENBANT'S CLAIM OF PROSECUTORIAL MISCONDUCT
DOES NOT WARRANT HABEAS RELIEF.

 

 

Defendant claims in ground three of the petition that the
prosecutor's questions and summation remarks deprived defendant
of a fair trial. This exhausted claim, raised in Point 111 of
defendant’s Appellate Division brief (Respondent’s Exhibit A} and
in defendant’s February 21, 2017 leave letter to the New York
Court of Appeals (included in Respondent's Exhibit F) at 1-12,
does not warrant habeas relief.

The propriety of a prosecutor’s comments at trial generally
does not present a federal constitutional guestion. §ee Donnell¥

v. DeChristoforo, 416 U.S. 637, 643 (1974) (rejecting state

 

prisoner’s claim that prosecutor’s summation remark “so infected
the trial with unfairness as to make the resulting conviction a
denial of due process”}. A criminal conviction “is not to be
lightly overturned on the basis of a prosecutor's comments

standing alone.” United States v. Young, €70 U.S, l, ll (1985).

 

Thus, “it is not enough that the prosecutors’ remarks were
undesirable or even universally' condemned.” Darden v.
Wainwright, 477 U.S. 168, lSl (1986}.

Here, the Appellate Division heldt that “the prosecutor’s
questions and comments, even if improper, were not so egregious
as to have deprived the defendant of a fair trial." People v.
Joseph¢ 145 A.D.3d 916, 917, 44 N.Y.S.Bd ll§, 116 (2d Dep’t
2016). The Appellate Division's rejection of defendant's

contentions concerning the prosecutor's questioning and remarks

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was an adjudication on the merits within. the meaning of the
federal habeas statute, as amended by AEDPA. See Parker v.

Ercole, 666 F.Bd 830, 834 (2012}; Jimenez v. Walker, 458 E,Bd

 

130, 146 (2d Cir. 2006), cert. denied, 549 U.S. llBB (200?);

Sellan v, Kuhlman, 26l F.Bd 383, 312, 314 {Zd Cir. ZOGl).

 

Therefore, the deferential standard of 28 U.S.C. § 2254{d){1}
applies to this claim.

The Appellate Division's rejection of defendant’s claim that
the prosecutor’s questioning or summation remarks deprived him of
a fair trial was not contrary to, and did not involve an
unreasonable application of, Supreme Court precedent. §§§ Parker
v. Matthews, 567 U.S. 37, §8-49 {2812) (circuit court erred in
setting aside state court's determination concerning prosecutor's
summation comments, where no Supreme Court precedent supported
circuit court’s action). The Supreme Court's decision in Darden
is the “clearly established Federal law” relevant to this claim.
§ee id;, 567 U.S. at 45. A prosecutor’s improper comments will
be held to violate the Constitution only if they “‘so infected
the trial with unfairness as to make the resulting conviction a
denial of due process.’” Darden, 4?7 U.S. at 181 (guoting

Donnelly v. DeChristoforo, 416 U.S. 637, 643 1197§]). h

 

prosecutor’s improper questioning must also meet that standard to

constitute a due process violation. See Greer v. Miller, 483

 

U.S. 756, 765-66 (1987) (guoting Donnelly v. DeChristoforo, 416

 

U.S. 637, 643 {19741, and rejecting claim, that prosecutor’s

improper question presented due process violation).

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The Darden standard is “a very general one,‘ leaving state
courts greater‘ leeway in their determinations. Matthews, 667
U.S. at 48. Furthermore, “[a} state court's determination that a
clain1 lacks merit precludes federal habeas relief so long as

‘fair-minded jurists could disagree’ on the correctness of the

state court’s decision.” Harrington v. Richter, 862 U.S. 86, lOl

 

(ZUll) {guoting Yarborough v. Alvarado, 541 U.S. 652, 664

 

[2804]); see Mattnews, 667 U.S. at 47.

Here, defendant fails to show that the Appellate Division’s
rejection of his claim concerning the prosecutor’s questions or
summation comments was contrary, or involved an unreasonable
application of, Supreme Court precedent. Viewed as a whole and
in the context of defense counsel's remarks, see Darden, 477 U.S.
at l79; §§gng, 470 U.S. at 12, the prosecutor’s summation remarks
did not amount to federal constitutional error. §ee Darden, 477
U.S. at l79w8l (rejecting habeas claini based on prosecutorial
summation comments; although prosecution made reference to
defendant as “animal” and other objectionable comments, summation
did not deprive state prisoner of fair trial). Furthermore, it
cannot be said that the Appellate Division's rejection of
defendant's claim of constitutional error in the summation “was
so lacking in justification that there was an error well
understood and comprehended in existing law beyond any
possibility for fairminded disagreement.” Richter, 562 U.S. at
103; see Matthews, 567 U.S. at 48.

For the reasons explained in detail in the People*s

Appellate Division brief {Respondent’s Exhibit B) at pages 61~78,

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the prosecutor's questions did not warrant reversal. Defendant
did not object to the prosecutor questioning Joshua Byrd
concerning his own7 gang affiliation or details concerning the
structure and discipline within the gang (Byrd: 89-91), and when
the prosecutor posed questions about gang members being present
in the courtroom, the court sustained objections before any
answer was given (91, 256, 308). The prosecution did not elicit
any testimony that defendant was a gang member. However, the
propriety of prosecutor’s questioning must be viewed. in the
context of circumstances unfolding in the courtroom, which
included the filling of courtroom benches With gang associates of
defendant when Joshua Byrd was about to testify (80-83)“
Bimilarly, as noted in the People's Appellate Division brief
(Respondent’s Exhibit B) at 72~77, the prosecutor's summation
comments did not warrant reversal. lt is the right of counsel

during summation to comment upon every pertinent matter of fact

bearing upon the questions the jury must decide. People v.
Ashwal, 39 N.Y.Zd lO§, 109, 383 N.Y.S.2d 284, 286 (1876). The

propriety of the prosecutor’s comments during summation must be
considered in the light of the evidence presented, see id. at
lOSMlG, 383 N.Y.S.Zd at 206-07, and` the comments of defense

counsel on summation. See People v. Halm,l 81 N.Y.Zd 819, 821,

 

595 N.Y.S.Zd 380, 388 (1983}; People v. Arce, 42 N.Y.Zd 179, 190,
397 N.Y.S.Zd 619r 626 (1977); People v. Marks, 6 N.Y.Zd 67, 77,
188 N.Y.S.2d 468, 473 (1959) (prosecutor’s remarks must be
considered in relation to defense summation), cert. denied, 362

U.S. 912 {1960). When viewed in this context, the prosecutor's

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remarks were responsive to defendant’s summation and did not
exceed the “broad bounds of rhetorical comment permissible in

closing argument.“ Peopie v. Galloway, 54 N.Y.Zd 396, 389, 446

 

N.Y.S.Zd 9, 10 (1981); see Darden, e?? U.S. at 179.

More importantly, defendant fails to show that the Appeliate
Division’s rejection of his claim concerning the prosecution's
questions or summation comments was contrary to, or involved an
unreasonable application of, Supreme Court precedent, in that
such rejection amounted to “an error weil understood and
comprehended in existing law beyond any possibility for
fairminded disagreement.” Richter, 562 U.S. at 103; see
Matthews, 561 U.S. at 47. The summation comments at issue in
Darden were more prejudicial than the comments at issue here: in
Darden, the prosecution referred to the defendant as an “animal”
and made other improper comments in an argument that “deserve[d]
the condemnation it has received from every court to review it.”
Darden, 417 U.S. at 180-81. Nevertheless, the Supreme Court
declined to find that the comments deprived the defendant of a
fair trial. l§; at 181.

Furthermore, the court instructed the jury not to infer any
fact from a question by itself and to disregard matters to which
an objection was sustained (10~11), promptly sustained objections
to the prosecutor's questioning about gang members in the
audience (91, 256, 300~81}, and instructed. the jury that the
comments of counsel were not evidence and that the jury's
recollection of the evidence was controlling (536-38). Juries

are presumed to follow the instructions given to thenl by the

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trial court. See Richardson v. Marsh, 481 U.S. 289, 211 (1987);

 

PeoEle v. Berg, 59 N.Y.Zd 294, 299~300, 464 N.Y.S.Bd 703, 705~06
(1983). Tbus, any prejudice from the prosecutor’s questioning or
remarks was mitigated by the court’s instructions to the jury.
Finally, in light of the overwhelming evidence of
defendant's quilt, summarized in the People's Appeilate Division
brief (Respondent's Exhibit B) at pages 9m25, any error in the
prosecutor’s questioning or remarks did not have a substantial
and injurious effect or influence on the verdiot. §§§ Fr¥ v.

Pliler, 551 U.S. 112, 121-22 {2007); Brecbt v. Abrahamson, 567

 

U.S. 619, 637-39 (1993) (constitutionai trial error does not

warrant habeas relief unless error had substantial and injurious

 

effect or influence on verdict); see also People v. Crimmins, 36
N.Y.Ed 230, 367 N.Y.S.Zd 213 (1975) (concludinq that
prosecutorial comments were harmless error, in light of

overwhelming evidence of defendant's quiit).
In sum, defendant’s claim concerning the prosecutor’s
questioning and summation remarks does not warrant federal habeas

reiief.

POINT IV

DEFENDANT’S CLA§M THAT THE TRIAL CQURT FAILED
TO GIVE A MEANENGFUL RESPONSE TO A JURY
REQUEST FOR A READBACK DOES NOT WARRANT
HABEAS RELIEF.

 

 

 

Defendant's olaim, in ground four of his petition of a
violation of New York Criminal Procedure Law § 310.30 based on
the court's response to the jury’s request. for a readback of

testimony by witness Joshua Byrd does not warrant habeas relief.

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This exhausted claim was presented in Point 1 of defendant's pro
se_supplemental brief (Respondent’s Exhibit D) and in defendant’s
February 21, 2017 leave letter to the New York Court of Appeals
(included ill Respondent's Exhibit F) at l?. Nevertheless, no
relief is warranted because defendant’s claim of a violation of a
state statute does not present a federal constitutional question

for habeas review by this Court. See Estelle v. McGuire, 502

 

U.S. 62, 67-68 (1991) (“it is not the province of a federal
habeas court to reexamine state~court determinations on state-law
guestions”); Jones v. Annucci, 124 F. Supp. 3d 103r 130 (N,D.N.Y.
2015) (claim based on N.Y. Crim Proc. Law § 310.30 involved only
violation of state law).

Furthermore, the court’s response to the jury’s request did
not violate New York Criminal Procedure Law § 310.30, for the
reasons stated ill the State's supplemental brief {Respondent’s
Exhibit E) at pages 3M15. After the jury sent its note
requesting a readback of Joshua Byrd’s testimony “describing the
fight between [the victim} and the defendant (distance between
the punch and the shot) from doshua Byrd” (630, 637, 639), the
court read the note, showed it to the parties, and stated that it
interpreted the note as requesting testimony concerning the
distance between the shooter and the person who threw the punch
(631), although defendant interpreted the note differently, as
referring to “the interplay between the shooter and the person
that got shot the distance they were from Joshua Byrd" (638).
When the court told the jury that it interpreted the note “as

saying that you are asking [for} doshua Byrd’s testimony about

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the distance between the defendant and [the victim} when he got

shot” {639), the court noted that jurors were nodding
affirmatively in response and that the “[floreperson says yes”
(640). The portion of the testimony on which the parties had

agreed (638“39) was then read back to the jury, and the jury left
the courtroom {640} and did not send any further note requesting
additional portions of Byrd’s testimony.

The Appellate bivision rejected defendant’s clain: on the
merits, expressly finding that the trial court “gave a meaningful
response to the jury’s request for a readback of the testimony of
a prosecution witness.” Peopie v. Joseph, 1é5 A.D.3d 916, 91?,
44 N.Y.S.Ed 115, 116 (2d Dep’t 2016). The Appellate Division’s

determination was not contrary to, and did not involve an

unreasonable application of, Supreme Court precedent. See 28
U.S.C. § 225§(d)(1). Therefore, defendant’s claim should be
rejected.

ln addition, any error in the court's response to the jury's
request for a readback was harmless. There was overwhelming
evidence of defendant’s guiit, as summarized in the State's
Appellate Division brief (Respondent’s Exhibit B) at pages 9-25,
and the claimed error would not have had a substantial and

injurious effect on the verdict. See Fry v. Pliler, 551 U.S.

 

112, 121~22 (2007); Corines v. Superintendent, Otisville Corr.

 

Facility, 621 F. Supp. 2d 26, 38 (E.D.N.Y. 2008).
ln sum, defendant’s claim concerning the trial court’s
response to a jury request for a readback does not warrant habeas

relief.

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POINT V

DEE`ENDANT’S CLAIl‘/§ OF INEFFECTIVE ASSISTANCE
OF TRIAL COUNSEL DGES NOT WARRANT HABEAS
RELIEF.

 

 

Defendant’s claim in ground five of his petition that his
trial counsel was ineffective does not warrant habeas relief.
Defendant exhausted this claim. by raising it in his prp §§
supplemental brief on direct appeal in state court and in his
application for leave to appeal to the New York Court of Appeals.
§ee Defendant’s §rg §§ Supplemental Brief (Respondent’s Exhibit
D) at Point 2; Defendant's Feb. 21, 2017 Leave letter (included
in Respondent's Exhibit F) at 17~18. In his prp §§ supplemental
brief, defendant claimed that the judgment of conviction should
be reversed because his trial counsel was ineffective for failing
to move for a Sirois hearing when the prosecution attributed the
change in a prosecution witness’s trial testimony to ndsconduct
by defendant (Defendant’s §rg §§ Supplemental Brief [Respondent’s
Exhibit D] at 16-25).

The Appellate Division rejected on the nerits defendant’s
contention. that his trial counsel was ineffective, concluding
that defense counsel was not ineffective for not moving for a
Sirois hearing because a Sirois hearing was not “relevant to the

circumstances of this case.” See People v, doseph, 145 A.D.3d

 

916, 918, 44 N.Y.S.Bd 115, 117 {2d Dep’t 2016). The Appellate
Division explained that a Sirois hearing was “a tool used by the
prosecution to determine whether the defendant has procured a
witness’s absence or unavailability through7 his [or herl own

misconduct, and thereby forfeited any hearsay or Confrontation

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Clause objections to admitting the witness‘s out“of-court
statements.” Id. (internal quotation marks and citations

omitted). See Holtzman v. §-Iellenbrandr 92 A.D.Zd 405, GGO

 

N.Y.S.Zd 591 (2d Dep’t 1983); see also People v. Geraci, 35

 

N.Y.Zd 359, 625 N.Y.S.Zd §69 (1995}. The Appellate Division’s
rejection of this claim does not warrant habeas relief.

Where a state court has adjudicated a federal constitutional
claim on the merits, a state prisoner is entitled to a writ of
habeas corpus only if the state court’s adjudication of the claim
“resulted in_ a decision that was contrary to, or involved an
unreasonable application of, clearly established ?ederal iaw, as
determined by the Supreme Court of the United States,” or if the
state court's adjudication of the claim “resulted in a decision
that was based on an unreasonable determination of the facts in
light of the evidence presented in the State court proceeding.”

28 U.S.C. § 2254(d); See Williams v. Tayior, 529 U.S. 362, 412-13

 

(2009). In addition, under 28 U.S.C. § 2254(e)(l), “a
determination of a factual issue made by a State court shall be
presumed to be correct,” and the state prisoner “shali have the
burden of rebutting the presumption of correctness by clear and
convincing evidence.”

In order to establish that a state court decision involves an
unreasonable application of Supreme Court precedent, “a state
prisoner must show that the state court's ruling on the claim
being presented in federal court was so lacking in justification

that there was an error well understood and comprehended in

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existing law beyond any possibility for fairminded disagreement.”

Harrington v. Ricbter, 562 U.S. 36, 103 {2011).

 

In this case, the Appellate Division expressly rejected on
the merits the claim of ineffective assistance of trial counsel
that was raised in defendant’s Appellate Division brief. People
v. Joseph, 145 A.D.3d 916, 917, 44 N.Y.S.Bd 115, 116 (2d Dep’t
2016). The Appellate Division’s rejection of this claim was not
contrary to, and did not involve an unreasonable application of,
Supreme Court precedent. §ee 28 U.S.C. § 2254{d){i). In

Strickland v. Washington, 466 U.S. 668 (l984), the Supreme Court

 

set forth the general test for federal constitutional claims of
ineffective assistance of counsei. Under Strickland, a defendant
is entitled to “reasonably effective assistance,” which in light

of all the circumstances, does not fall “outside the wide range

of professionally competent assistance.” Id. at 687, 690.
Counsel is “strongly presumed" to have rendered effective
assistance to his client. ld. at 690. “The reasonableness of

counsel's performance is to be evaluated from counsel’s
perspective at the time of the alleged error and in light of all
the circumstances, and the standard of review is highly

deferential.” Kimmelman v. Morrison, 477 U.S. 365, 381 {1986).

 

The Sixth Amendment guarantees reasonable competence, not perfect
advocacy judged with the benefit of hindsight» Yarborough v.
Gentry, 540 U.S. l, 8 (2003).

Under Strickland, in order to prevail on a federal
constitutional claim of ineffective assistance of counsel, a

defendant must also demonstrate that he was prejudiced by the

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performance of his counsel, in that, but for the allegedly
deficient performance of counsel, the outcome of the proceedings
would have been different. Strickiand, 466 U.S. at 694.
Furthermore, under the amended habeas statute, a state
prisoner
must do ere than show that he would have
satisfied Strickland’s test if his claim were
being analyzed in the first instance, because
under § 2254{d){1), it is not enough to
convince a federal habeas court that, in its
independent judgment, the state-court
decision applied Strickland incorrectly.
Bell v. Cone, 535 U.S. 685, 693w99 {2002) (citing Williams v.
Taylor, 529 U.S. 362, 411 [2000]). lnstead, the prisoner must
show that the state court “applied Strickland to the facts of his
case in an objectively unreasonable manner.” Cone, 595 U.S. at
699.
lndeed, with respect to claims of ineffective assistance of
counsel, “REDPA review must be doubly deferential in order to

afford both state court and the defense attorney the benefit of

the doubt.” Woods v. Donald, 135 S. Ct. 1372, 1376 (2015)

(internal quotation marks and citations omitted}; see Knowles v.
Mirzayance, 556 U.S. lll, 123 (2009). Whetber a state court's

decision was unreasonable “must. be assessed in light of the

record the court had before it.” Holland v. Jackson, 542 U.S.

 

649, 652 (2004}; see Cullen v. Pinholster, 563 U.S. 170, 181-82

 

(2011).
The Appellate Division’s rejection of defendant’s federal

claim of ineffective assistance of counsel, assessed in light of

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the state court record, was not contrary to, and did not involve
an unreasonable application of, Supreme Court precedent.2
As explained in the State's supplemental brief (Respondent’s

Exhibit E) at 16-29, the record, shows that defendant’s trial

counsel provided defendant with competent, effective
representation at triai. et triai, defense counsel made an
opening statement (23-26), made numerous objections, and
vigorously crosswexamined the prosecution's witnesses. On

summation, defense counsel argued forcefully that the prosecution
witnesses were not credible and emphasized Joshua Byrd's prior
crimes and bad acts and inconsistencies in his testimony as well
as inconsistencies or gaps in the testimony of other witnesses
(546-53, 558”60). As a result of defense counsel’s efforts, the
jury acquitted defendant of the top count of second-degree murder
and also the count of second-degree criminal possession of a
weapon (653-59).

Sefendant’s claim of ineffective counsel was based on the
sole ground that his counsel failed to request a Sirois hearing
when Kyle Leslie changed his testimony and thel prosecutor
attributed the change in Leslie’s testimony to misconduct by
defendant (Defendant’s Pro Se Supplemental Brief §Respondent's

Exhibit Dl at l6“25}. However, the Appellate Division reasonably

 

2 To the extent that defendant based his claim of
ineffective assistance of trial counsel on his New York right to
counsel, citing, inter alia, People v. Baldi, 54 N.Y.Zd 13?, 444
N.Y.S.Zd 393 (1981), (Defendant’s Pro Se Supplemental Brief
[Respondent’s Exhibit D] at 16-1?), the claim presents no
cognizable federal constitutional question for habeas review.
§ee 28 U.S.C. § 2254(a); Estelle v. McGuire, 502 U.S. 62, 57-58
(1991).

 

 

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rejected this claim because a Sirois hearing was not “relevant to
the circumstances of this case,” see Joseph, 145 A.D.Bd at 916,
§§ N.Y.S.Bd at 117, and was “a tool used by the prosecution to
determine whether the defendant has procured a witness's absence
or unavailability through his [or herj own misconduct, and

thereby forfeited any hearsay or Confrontation Clause objections

 

to admitting the witness’s out-of-court statements.” ld;

Herer although the prosecutor believed that Leslie had been
intimidated, into changing his testimony by members of
“defendant’s entouragef_in the courtroom (263“64}, the prosecutor
did not request a Sirois hearing or seek to introduce Leslie’s
prior statement as direct evidence, and it would not have made
sense for defense counsel to request such a hearing. Indeed,
there were strategic reasons for defense counsel to oppose such a
hearing, because the change in Lesiie’s testimony was favorable
to the defense, in that Leslie claimed that he did not see
defendant at the scene of the shooting and had lied previously
about being present (Leslie: 282, 28?-89}.

Notwithstanding the change in Lesiie’s testimony, the
evidence of defendant’s guilt, summarized in the People’s
Appeliate Division brief (Respondent’s Exhibit B) at pages 9-25,
was overwhelming. In light of that evidence, defendant was not
prejudiced, as any error of counsel in not requesting a Sirois
hearing would not have affected the outcome of the proceedings.

See Berghuis v. Thompkins, 560 U.S. 370, 389-9l (2@10);

 

Strickland, 466 U.S. at 694; see also King v. Greiner, 453 Fed.

 

Appx. 88, 90 (Zd Cir. 2011) (even assuming, arguendo, that state

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prisoner’s counsel was deficient in failing to object to
prosecutor's summation, prisoner could not establish prejudice in
light of “strong evidence” of prisoner's guilt}.

Thus, the Appellate Division's rejection of defendant’s
clain1 of ineffective assistance of counsel was reasonable in
light of Supreme Court precedent, and defendant's claim of

ineffective assistance of counsel does not warrant habeas relief.

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CONCLUSION

DEFENDANT’S PETITION FOR A WRIT OF HABEAS
CORPUS SHOULD BE DENIED.

Dated: Brooklyn, New York
June 25, 2018

Respectfully submittedJe

ERIC GONZALEZ
District Attorney
Kings County

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Assistant District Attorneys
of Counsel

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Certificate of Service

 

l hereby certify that on June 25, 2016, the foregoing document
was filed with the Clerk of the Court and served in accordance
with the Eederai Ruies of Civil Procedure, and/or the Eastern
District’s Local Rules, and/or the Eastern District’s Rules on
Electronic Service upon the following party:

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